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                                                                       FILED: June 26, 2023



                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 23-1638
                                    (1:22-cv-00140-MSN-IDD)
                                      ___________________

        CURTIS LEVAR WELLS, JR.

                     Plaintiff - Appellant

        v.

        JAVIER FUENTES, Badge #1666; SCOTT WANEK, Badge #1137; MICHAEL
        P. ARMSTRONG, Badge #331; ASHLEY BARNICKLE, Badge #1574;
        LAUREN LUGASI, Badge #1625; KIMBERLY SOULES, Badge #1630;
        AUSTIN KLINE, Badge #1720; JOHN VANAK, Badge #1399; KEITH
        SHEPHERD; COUNTY OF ARLINGTON; ARLINGTON COUNTY POLICE
        DEPARTMENT; JOHN DOES 1 through 10; UNITED STATES OF AMERICA

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

               The court grants leave to file separate briefs, and the length of each brief

        shall not exceed the length limitations established by the Federal Rules of

        Appellate Procedure. See Fed. R. App. P. 32(a)(7) & 28.1(e).
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               All parties to a side shall continue to share time for oral argument provided

        by this court's Local Rule 34(d).

                                                  For the Court--By Direction

                                                  /s/ Patricia S. Connor, Clerk
